                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF WISCONSIN

In the matter of:

NETWURX, INC.                                                 Case No. 08-26131

                                      Debtor.                 Chapter 11


                OBJECTION TO THE CONFIRMATION OF THE
               BERTRAM COMMUNICATIONS, LLC MODIFIED
        CHAPTER 11 PLAN OF REORGANIZATION DATED AUGUST 17, 2009


       Netwurx, Inc., Pamela Maher, and Peter Maher, jointly and severally, by their attorney Guy

K. Fish, hereby object to the confirmation of the Bertram Communications, LLC (hereinafter

“Bertram”) modified Chapter 11 Plan of Reorganization filed on August 17, 2009 on the following

grounds:

       1.      Bertram filed an original plan on June 29, 2009 which proposed a “buyout” of the

               Netwurx corporation in the sum of $750,000.00. Bertram subsequently filed a

               modified plan on July 16, 2009. The only modification was an increase of the buyout

               amount to $800,000.00 (a 6.7% increase). Bertram then filed another modified plan

               on August 17, 2009. That modified plan contained no material or substantial changes

               to the plan filed on July 16, 2009.

       2.      Bertram, other than affirming financing in its filings, has provided no additional and

               separate verification that the proposed $800,000.00 is indeed available to Bertram.

       3.      Since the modified plan filed on August 17, 2009 contains the exact same language

               as the modified plan filed on July 16, 2009, and the modified plan filed on August

               17, 2009 does not contain language explaining why the same plan was filed twice,

               and Bertram has provided no other explanation for said filing, your objectors submit

               that Bertram has acted in bad faith.
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       4.      Section 11 U.S.C. 1129(e) is applicable to the Bertram plan. The Bertram plan fails

               to meet the confirmation requirement of 45 days after the filing of its plan. In order

               for the 45 day period to track at the filing of a modified plan, modifications in a

               modified plan must be material and substantially different to a previous plan. See In

               Re Save Our Springs (S.O.S.) Alliance, Inc., 388 B.R. 202 (Bkrtcy. W.D. Tex. 2008).

               Bertram’s modified plan filed on August 17, 2009 contained no material

               modifications or substantial differences to the plan that it filed on July 16, 2009.

               Your objectors submit that the plans are identical. Your objectors would further

               argue that the two modified plans filed after the original plan do not contain material

               modifications or substantial differences to the original plan. Therefore, the Bertram

               plan filed on August 17, 2009, at a minimum, relates back to the filing date of July

               16, 2009 for purposes of the 45 day period. The confirmation hearing set for

               September 17, 2009 is long past the 45 day period.

       For the reasons as set forth above, Netwurx, Inc., Pamela Maher, and Peter Maher, jointly

and severally, object to the confirmation of the Bertram plan filed on August 17, 2009.

       Respectfully submitted this 17th day of September, 2009.

                                                              FISH LAW OFFICES

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